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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                 Plaintiff,

     v.                                   No. 1:23-cv-01599-ABJ-ZMF

BINANCE HOLDINGS LIMITED,                 Oral Argument Requested
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                Defendants.



          Joint Motion To Dismiss Amended Complaint Against Defendants
                  Binance Holdings Limited And Changpeng Zhao
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       Defendants Binance Holdings Limited (“BHL”) and its former CEO, Changpeng Zhao,

submit this motion to dismiss the SEC’s Amended Complaint and, in the alternative, to strike

portions of the SEC’s requested relief.

                                           Introduction

       In its Amended Complaint, the SEC pays lip service to the Court’s ruling that crypto assets

are not in and of themselves “securities,” but refuses to accept the logical conclusion of that

ruling—that secondary market resales of the assets long after they were first distributed by their

developers are not “securities” transactions. Instead, the SEC’s Amended Complaint continues to

insist that virtually all transactions involving crypto assets—including blind secondary market

resales of tokens—are securities transactions because some buyers might hope the assets will

increase in value. This Court correctly rejected the SEC’s initial attempt to conflate crypto assets

with investment contracts, recognizing that although crypto assets can be sold as part of an

investment contract, each transaction must independently satisfy Howey for the securities laws to

apply to that transaction. As the Court correctly observed, the SEC’s argument that crypto assets

“embod[y]” investment contracts “muddied the issues” and “ignored” Supreme Court precedent.

SEC v. Binance Holdings Ltd., 2024 WL 3225974, at *11 (D.D.C. June 28, 2024). In seeking

leave to amend its complaint, the SEC apologized and purported to abandon its meritless “crypto

asset securit[y]” theory. ECF 273-1 (“Mot. Am.”) at 24 n.6. But the agency’s reformulated

allegations suffer from the same infirmities.

       Missing from the Amended Complaint is any coherent legal basis to separate assets that

are part of investment contracts from investment contracts themselves. Assets—whether oranges,

Beanie Babies, or crypto assets—do not become investment contracts in perpetuity simply because

they were initially offered and sold to customers as part of a package of promises and expectations




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that collectively qualify as “investment contracts” under the Howey test. The SEC still refuses to

articulate any standard for courts, litigants, or market participants to know which crypto-asset

transactions qualify as investment contracts, and which do not. And the SEC continues to choose

winners and losers arbitrarily, recently abandoning with no explanation its claim that transactions

involving Ether—the second most common crypto asset, after Bitcoin—are investment contracts.

The agency even admits that its non-test cannot differentiate securities from Beanie Babies at the

pleading stage. Mot. Am. 2.

       The SEC’s amended claims include new allegations challenging several types of

transactions—each of which must independently satisfy the Howey test to come within the scope

of the SEC’s authority. Binance, 2024 WL 3225974, at *11, *14 (applying SEC v. W.J. Howey

Co., 328 U.S. 293 (1946)). The five main kinds of transactions at issue in this motion are:

           1. blind resales of any tokens by sellers who did not develop those tokens;

           2. blind sales of BNB, SOL, SAND, and MANA by their developers;

           3. “initial exchange offerings” of MATIC, AXS, and SAND;

           4. employee compensation using BNB; and

           5. deposits of crypto assets into the Simple Earn program.

       The first category involves anonymous resales of crypto assets by someone other than the

tokens’ developers. These transactions are plainly not investment contracts. The agency’s

argument appears to be that if the token was ever sold to anyone in a transaction that was an

investment contract, then all subsequent resales of the token between any buyers and sellers are

necessarily securities transactions going forward indefinitely. This Court already rejected that

interpretation of Howey, correctly recognizing that it does not comply with Supreme Court

precedent requiring each transaction to be analyzed based on its own circumstances. Binance,




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2024 WL 3225974, at *11, *14.

       Resales of tokens over an exchange are impersonal; the buyers and sellers are both

oblivious to one another’s identity. One party places an order to buy while another places an order

to sell, and matching software completes a transaction without any interaction between the parties.

No investment of money can be made into a common enterprise when an unknown seller, separate

from any common enterprise, receives the money. And buyers lack a reasonable expectation that

their money will be used by the managers of any common enterprise to generate profits on their

investment when they have no reason to think they are investing in the enterprise itself. SEC v.

Ripple Labs, Inc., 682 F. Supp. 3d 308, 328 (S.D.N.Y. 2023) (“Ripple I”), appeal pending, No.

24-2648 (2d Cir.). In fact, this Court has already held that the SEC must allege facts supporting a

“plausible inference that the reasonable secondary buyer would expect [the token’s developer] to

use their investment to generate profits on the buyer’s behalf.” Binance, 2024 WL 3225974, at

*21 n.15. Because the SEC fails to do so for blind resales, the Court should dismiss the Exchange

Act claims involving resale transactions (the bulk of Counts 5–10).

       The second category involves alleged blind sales of BNB by BHL and three third-party

tokens by their developers, and the third involves three “initial exchange offerings.” These sales

were not investment contracts either. The blind transactions on Binance.com and Binance.US are

similar to resales because buyers had no idea who was selling or where their money was

going. And the SEC’s claims concerning three alleged “initial exchange offerings” likewise fail

to plausibly allege facts satisfying Howey’s requirement of a reasonable expectation that their

money would be used to earn them profits from the token developers’ efforts. Thus, the Court

should dismiss the SEC’s amended Securities Act claim concerning BHL’s post-ICO sales of BNB

(Count 1) and the SEC’s Exchange Act claims premised on sales of tokens by their developers (the




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rest of Counts 5–10).

       The Court should also dismiss all claims concerning exchange transactions in BNB and

other tokens—i.e., blind resales, blind sales by developers, and initial exchange offerings—

because the SEC fails to plausibly allege that the tokens were sold primarily as an investment.

Rather, the Amended Complaint and incorporated materials make clear that the tokens were

marketed as resources buyers could use—for example, to pay fees on a blockchain, exchange for

goods and services, or play games online. As the Court previously recognized, several of the

tokens at issue were marketed in ways that might have induced buyers to purchase them for

consumptive (rather than investment) purposes. Additionally, the fact that some buyers may have

speculated that the tokens would increase in value is plainly insufficient for all transactions

involving those tokens to be investment contracts, and even for those buyers who may be

speculating, the SEC has not plausibly alleged that the speculation would be based on the efforts

of the promoters instead of, for example, other market dynamics. Otherwise, resales of ordinary

assets like gold, silver, or real estate would be securities transactions. For this reason, too, the

SEC’s Exchange Act claims should be dismissed (Counts 5–10), along with the SEC’s Securities

Act claims concerning blind post-ICO sales of BNB by BHL (Count 1).

       The fourth category of transactions the SEC challenges relates to employee compensation.

The Amended Complaint alleges that BHL violated the Securities Act when it allegedly paid

workers using BNB as an alternative to fiat currency. But the SEC fails to allege that any employee

invested money by receiving BNB; in fact, employee compensation via BNB illustrates BNB’s

real-world use for consumptive purposes, not investment purposes. The SEC also fails to plausibly

allege that employees invested money into a common enterprise. The SEC’s claims based on

employee compensation in BNB should therefore be dismissed (Count 1).




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       The SEC’s claim that Simple Earn, the fifth category of challenged transactions, is a

security largely rehashes its former, deficient allegations. Even the SEC’s new allegations confirm

that, at most, users deposited money with BHL and received ordinary interest, not that users bought

shares in a common enterprise. The Court should again dismiss this claim (Count 3).1

       The Court should also dismiss the SEC’s claims concerning third-party tokens (Counts 5–

10) on the independent ground that the SEC failed to join required parties. See Fed. R. Civ. P.

12(b)(7). The SEC asks this Court to rule that those sales were unlawful in the absence of the

directly interested parties that allegedly developed and distributed those tokens. Nor is joinder

feasible, since none of the absent parties is subject to service of process in this District. In these

circumstances, Rule 19(b) provides the Court ample discretion to dismiss the SEC’s claims

concerning the third-party tokens given the unfair prejudice that would result from deciding

whether sales of those tokens were investment contracts in the absence of their alleged developers.

       Finally, the Court should strike the SEC’s request for disgorgement. After an extensive

pre-suit investigation and 16 months of “expedited discovery” into BAM’s custody of customer

wallets and assets, ECF 71 at 9, the Amended Complaint still conspicuously lacks any allegations

that the challenged conduct by BHL or Mr. Zhao harmed customers, as is required for the SEC to

seek disgorgement. The Court should also dismiss as moot the SEC’s request to enjoin Mr. Zhao

from participating in securities markets “through any entity owned or controlled by BAM Trading

[or] Binance.” Am. Compl., Prayer for Relief ¶ V.




1
 The Court should also dismiss Count 2, which concerns BUSD. Binance, 2024 WL 3225974, at
*24–25. The SEC’s motion for leave to amend indicated that it included Count 2 in the Amended
Complaint solely for preservation and does not seek to re-litigate this claim. Mot. Am. 6 n.4.


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                                          Background

I.      The First Motion-To-Dismiss Ruling

        In support of its initial complaint, the SEC argued that BNB and other tokens constituted

“crypto asset securities,” Compl. ¶ 2, that allegedly “embodied” investment contracts, e.g., ECF

172 at 29. The SEC had pursued that theory for years, using the phrase “crypto asset securities”

in multiple enforcement actions alleging that developers and exchanges engaged in unlawful

securities transactions. See, e.g., SEC v. Payward, Inc., 3:23-cv-06003 (N.D. Cal. Nov. 20, 2023),

ECF 1; SEC v. Wahi, 2:22-cv-01009-TL (W.D. Wash. July 21, 2022), ECF 1.

        BHL and Mr. Zhao moved to dismiss the SEC’s claims against them, see ECF 118, as did

BAM, ECF 117-1. The Court partially granted and partially denied BHL’s and Mr. Zhao’s motion

and denied BAM’s motion. Binance, 2024 WL 3225974, at *1.

        The Court rejected “the SEC’s suggestion that [a] token is ‘the embodiment of [an]

investment contract,’” and that a token once sold as part of an investment contract always retains

that status. Binance, 2024 WL 3225974, at *11; see also, e.g., id. at *19–20. The Court explained

that it was “inclined to agree with the approach of the court in Ripple Labs”—namely, that each

transaction must be analyzed on its own circumstances. Id. at *20 (citing Ripple I, 682 F. Supp.

3d at 329 n.16). Conversely, the Court disagreed with Defendants’ contention that an “investment

contract” arises only when the promoter promises to assume post-sale contractual obligations,

holding the argument to be foreclosed under Howey and SEC v. C.M. Joiner Leasing Corp., 320

U.S. 344 (1943). Binance, 2024 WL 3225974, at *8–10. The Court also rejected Defendants’

arguments under the major-questions doctrine, Due Process Clause, and BHL’s and Mr. Zhao’s

arguments that certain of the SEC’s claims are time-barred or impermissibly extraterritorial. Id.

at *32–36, *41–44. And the Court denied Mr. Zhao’s motion to dismiss for lack of personal

jurisdiction. Id. at *29–32.


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II.      The Amended Complaint And The SEC’s New Theory For Regulating Crypto Assets.

         In its motion for leave to amend, the SEC purportedly disavowed its “crypto asset

securit[y]” theory. Mot. Am. 24 n.6. But the SEC continues to assert that crypto assets were sold

“as investment contracts” (i.e., as securities). Id.

         Sales Of Third-Party Tokens And Resales Of BNB On Binance.com And Binance.US

(Counts 5–10). The Exchange Act Counts (Counts 5–10) allege that BHL or BAM (or both)

operated as an unregistered securities exchange, broker-dealer, and clearing agency in violation of

the Exchange Act. In its first order, the Court held that these claims could proceed “[g]iven the

Court’s findings” concerning sales of BNB by BHL, BNB Vault, and BAM’s Staking Program.

Binance, 2024 WL 3225974, at *28. With respect to the SEC’s allegations concerning resales of

BNB, however, the SEC had not “plausibly allege[d] an ‘expectation of profits’ in the form of a

return on an investment.” Id. at *22.

         The Amended Complaint includes new allegations about sales of the third-party tokens and

BNB, including referring to various marketing pitches that third parties made to customers, which

BHL and BAM allegedly “republish[ed] and amplif[ied].”           Am. Compl. ¶ 496.       The SEC

predominantly argues that resales (i.e., sales to which BHL and the third-party tokens’ developers

were not counterparties) violated the Exchange Act.         Despite purportedly abandoning its

“embodiment” theory, the SEC alleges that BNB, for example, was sold as a security “[a]t all

times,” and in all transactions, id. ¶ 341 (emphasis added), no matter how many times the token

was resold, and no matter whether any money from those resales went to BHL, see id. ¶ 345.

         The SEC also alleges that some developers (including BHL) themselves sold tokens on

Binance.com or Binance.US. These alleged sales include: (1) blind sales in which the developers

allegedly sold tokens on the exchanges but the buyers had no idea who they were buying from,

Am. Compl. ¶¶ 338, 468; and (2) “Initial Exchange Offerings” or “IEOs” where developers


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allegedly sold tokens on the exchanges in publicized distributions, id. ¶ 68; see also id. ¶¶ 464–66.

       Sales Of BNB By BHL On Binance.com And Binance.US (Counts 1 And 5–10). The

Court’s first motion-to-dismiss order determined that the SEC plausibly alleged that BNB was

offered and sold as an investment contract during its ICO (which BHL and Mr. Zhao did not contest

at the motion-to-dismiss stage). Binance, 2024 WL 3225974, at *15–17. It likewise construed the

SEC’s complaint to plead that BHL sold BNB after the ICO. Id. at *17–18.

       In the Amended Complaint, the SEC now makes clear, for the first time, that this claim

does not concern an offering akin to the BNB ICO in which buyers allegedly knew they were

purchasing BNB from BHL. Instead, the SEC alleges that BHL sold BNB in blind transactions

on the Binance.com and Binance.US exchanges to buyers who did not know they were purchasing

tokens from BHL. Am. Compl. ¶¶ 91, 338. As noted above, for Counts 5–10 the SEC claims that

these blind sales of BNB by BHL violated the relevant provisions of the Exchange Act. Id. ¶ 459.

The SEC also alleges that these same transactions violated Section 5 of the Securities Act (because

they qualify as unregistered securities offerings). Id. ¶ 781.

       Employee Compensation (Count 1). The Amended Complaint also adds a new claim that

“offer[s]” of BNB to BHL and BAM employees constituted the offer and sale of “investment

contracts.” Am. Compl. ¶ 309. The SEC contends that BHL offered BNB to employees “as part

of [their] regular salary” or, occasionally, for bonuses. Id. ¶¶ 310–12, 320. And BHL allegedly

paid “allowances” in BNB to defray “increased living expenses” when employees “move[d] to

more expensive geographic locations to work.” Id. ¶ 324. The SEC alleges that BHL “has not

placed any restriction” on how employees use the tokens and permits employees “to exchange the

BNB into the fiat currencies they would need to spend as they desired.” Id. ¶ 326.

       Simple Earn (Count 3). In the Court’s first motion-to-dismiss order, the Court dismissed




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Count 3 in part. The Court held that the SEC plausibly alleged that BHL’s BNB Vault program

generated securities transactions, but it dismissed the claims concerning the Simple Earn program,

explaining that the SEC failed to plead any “scheme or transaction in which investors were urged

to put their money in [BHL’s] hands so that they could share in the return that [BHL] would

generate through its managerial or entrepreneurial efforts.” Binance, 2024 WL 3225974, at *26.

The SEC’s new allegations consist largely of new marketing statements that BHL made about

Simple Earn. See Am. Compl. ¶¶ 424–37.

                                            Argument

        Under Rule 12(b)(6), a complaint must contain factual allegations that, if true, “state a

claim to relief that is plausible on its face.” Binance, 2024 WL 3225974, at *4 (quoting Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009)). A claim is not “plausible” when it is “merely consistent with”

unlawful conduct; there must be “further factual enhancement” pushing the allegations over the

threshold. Iqbal, 556 U.S. at 678. The Court may consider “the facts alleged in the complaint,

documents attached as exhibits or incorporated by reference in the complaint, and matters about

which the Court may take judicial notice.” Binance, 2024 WL 3225974, at *4 (quotations omitted).

I.      The Amended Complaint Fails To Plausibly Plead Facts That Satisfy Howey.
        (Amended Portions Of Count 1, Count 3, And All Of Counts 5–12)

        All the SEC’s claims rest on the proposition that the digital assets and deposit services at

issue were “investment contract[s]” under 15 U.S.C. §§ 77b(a)(1) and 78c(a)(10). “[I]nvestment

contract[s]” refer to transactions whereby “a person invests his money in a common enterprise and

is led to expect profits solely from the efforts of [a] promoter or a third party.” Howey, 328 U.S.

at 298–99. In the D.C. Circuit, the “efforts of others” prong differentiates between pre-purchase

and post-purchase activities. Binance, 2024 WL 3225974, at *14 (citing SEC v. Life Partners, Inc.

(“Life Partners II”), 102 F.3d 587, 588 (D.C. Cir. 1996) (per curiam order denying rehearing)).



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“[P]re-purchase services cannot by themselves suffice to make the profits of an investment arise

predominantly from the efforts of others.” Life Partners II, 102 F.3d at 588 (statement of

Ginsburg, J.) (quotations omitted). In applying that test, “[e]ach transaction must be analyzed and

evaluated on the basis of the content of the instruments in question, the purposes intended to be

served, and the factual setting as a whole.” Marine Bank v. Weaver, 455 U.S. 551, 560 n.11 (1982).

       A.      The SEC Fails To Plausibly Allege Securities Transactions On The
               Binance.com Or Binance.US Exchanges. (Counts 5–12)

       The SEC’s Exchange Act counts claim that token sales on Binance.com and Binance.US

were securities transactions, and therefore that BHL and BAM operated the websites as

unregistered exchanges, clearing agencies, and broker-dealers. The Amended Complaint clarifies

that the SEC’s Exchange Act claims hinge on the “intermediary services” that BHL and BAM

allegedly provided when tokens were bought and sold in secondary-market transactions on

Binance.com and Binance.US. Specifically, the SEC alleges that BHL and BAM provided

“intermediary services” by facilitating transactions involving the third-party tokens and BNB.

Am. Compl. ¶ 459; see also id. ¶ 292; Mot. Am. 4 n.3; id. at 13, 23.

       Importantly, the SEC’s focus on intermediary services that facilitate token sales on

exchanges confirms that services such as BNB Vault, Simple Earn, and BAM’s Staking Program

are not the basis for the agency’s Exchange Act claims. Accordingly, the Court should not adhere

to its prior ruling that these programs can support the SEC’s Exchange Act allegations. Cf.

Binance, 2024 WL 3225974, at *28. Those programs were allegedly services that BHL or BAM

directly provided to customers on Binance.com and Binance.US, not transactions on the exchanges

for which BHL or BAM was acting as an intermediary. Am. Compl. ¶¶ 401–58. Similarly, the

SEC’s claims concerning the BNB ICO—which is not alleged to have occurred on the

Binance.com or Binance.US platform (and in fact, predates their existence, id. ¶ 294)—are not a



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basis for the agency’s Exchange Act claims. Instead, the SEC’s Exchange Act claims (Counts 5–

10) require the SEC to plausibly allege that the third-party tokens or BNB were offered or sold on

the Binance.com or Binance.US exchanges as investment contracts.

       The Amended Complaint fails to do so. The SEC’s claims under the Exchange Act are

predicated upon the SEC’s effort to allege that three different kinds of transactions each involve

sales of investment contracts. First, the SEC asserts that resale transactions that do not involve a

token’s developer are all investment contracts. Second, the SEC asserts that token developers’

blind sales over an exchange to buyers who were oblivious to the sellers’ identity are also

investment contracts. Third, the SEC asserts that so-called “initial exchange offerings” or “IEOs”

are investment contracts. The SEC alleges that purchasers in these public offerings could have

expected that they were purchasing from the developer of the token because they involve “initial

distributions of [a] crypto asset by the issuer or promoter” using Binance.com or Binance.US “as

the primary means of distribution[].” Am. Compl. ¶ 68; see also id. ¶¶ 464–66.

       Each type of transaction, for each token, and in each alleged timeframe, must meet the

plausibility standard to survive a motion to dismiss. Thus, although the SEC organized its claims

under the Exchange Act into omnibus “counts” alleging violations of specific provisions of the

Act, each of those “counts” actually includes many discrete claims—i.e., distinct alleged violations

of the statute for which the SEC says it is independently entitled to relief. Steele v. United States,

2023 WL 6215790, at *1, *9 (D.D.C. Sept. 25, 2023) (a claim is “‘the aggregate of operative facts

which give rise to a right enforceable in the courts.’”). This Court has already applied this principle

to the SEC’s claims, dismissing the SEC’s original claims within Count 1 concerning BNB resales

but allowing the SEC’s other claims in Count 1 to proceed. Binance, 2024 WL 3225974, at *44;

see also id. (similar for Count 3 and Simple Earn). And the SEC itself says that its allegations




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concerning the third-party tokens are “relevant both to the scope of the violation and the remedy

at issue.” Id. at *28 (quoting Mot. Hr’g Tr. at 105). Accordingly, to the extent any of these claims

proceeds, Defendants are entitled to a ruling as to which, if any, specific claims or types of claims

included in the SEC’s Exchange Act counts may go forward.

       The SEC’s claims for each kind of transaction fail because the SEC cannot establish one

or more of Howey’s elements. And all of the SEC’s claims concerning token sales on Binance.com

and Binance.US, for all of the transactions, fail for the additional and independent reason that the

SEC fails to plausibly allege that reasonable buyers purchased the tokens primarily for the purpose

of investing money into a common enterprise.2

               1.      Blind Resale Transactions Not Involving Token Developers Were Not
                       Investment Contracts.

       The SEC claims that resales of the 10 third-party tokens and BNB on Binance.com violated

the Exchange Act. See, e.g., Am. Compl. ¶ 521 (targeting “resales”). By itself, dismissal of these

transactions would eliminate the SEC’s claims concerning five of the tokens (ADA, FIL, ATOM,

ALGO, and COTI). In addition, dismissal of this category would eliminate the SEC’s claims

concerning resale transactions for the remaining six tokens, further simplifying the scope of the

case even if those six tokens otherwise remain in the case.

       Resale transactions obviously fall outside Howey’s promoter-focused inquiry. Howey does

not concern the simple purchase and sale of assets, but the investment of money into a common

enterprise and the expectation the promoter will use that money to generate profits. Blind resale


2
  The SEC vaguely asserts that four additional tokens “have been the subject of prior SEC
enforcement actions.” Am. Compl. ¶ 460. The SEC does not even attempt to plausibly allege
facts suggesting that these four tokens were sold as “investment contracts,” and the bare reference
to prior enforcement actions is insufficient to state a plausible claim. See, e.g., Iqbal, 556 U.S. at
678. Thus, the Court should hold that the Amended Complaint fails to state any plausible claims
as to those four tokens, too.


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transactions—which not only are anonymous but also do not involve any money going into any

alleged common enterprise—fall well outside those requirements. And that is fatal to the SEC’s

claims concerning these transactions, since the SEC bears the burden of alleging “enough of the

facts and circumstances surrounding ongoing secondary sales to support . . . a plausible inference

that the reasonable secondary buyer would expect [the seller] to use [the buyer’s] investment to

generate profits on the buyer’s behalf.” Binance, 2024 WL 3225974, at *21 n.15.

        No investment of money into a common enterprise. For starters, nowhere does the SEC

allege that money from resales went back to BHL or the third-party tokens’ developers. Instead,

the SEC simply denies that this requirement exists. See Mot. Am. 14. Howey is crystal clear that

an investment contract requires “the placing of capital or laying out of money in a way intended

to secure income or profit from its employment.” 328 U.S. at 298 (emphases added). Thus,

investment contracts require an “investment of money in a common enterprise.” Id. at 301

(emphasis added). Likewise, the test is designed to capture “schemes devised by those who seek

the use of the money of others on the promise of profits,” id. at 299 (emphasis added)—meaning

schemes where investors “provide the capital” that will be used to generate returns, id. at 300.

        Whether analyzed under the “investment of money” or “common enterprise” prongs,

Howey meant what it said—an investment contract requires that an “investment of money” flow

into a “common enterprise.” Together, these two prongs require that “the investor commit his

assets to the enterprise in such a manner as to subject himself to financial loss.” SEC v. Rubera,

350 F.3d 1084, 1090 (9th Cir. 2003) (emphasis added; quotations omitted); see also, e.g., McCown

v. Heidler, 527 F.2d 204, 211 (10th Cir. 1975) (“The utilization of purchase money accumulated

from lot sales to build the promised improvements brings the scheme within the ‘common

enterprise’ definition.”).




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       In Ripple I, the Southern District of New York recognized this requirement in the specific

context of crypto assets. “The proper inquiry is whether [the buyers] ‘provided the capital,’ ‘put

up their money,’ or ‘provided cash’” to fund a common enterprise. 682 F. Supp. 3d at 325 (quoting

Howey, 328 U.S. at 300, Glen-Arden Commodities, Inc. v. Costantino, 493 F.2d 1027, 1034 (2d

Cir. 1974), and SEC v. Telegram Group Inc., 448 F. Supp. 3d 352, 368–69 (S.D.N.Y. 2020))

(alterations and citations omitted). Several categories of transactions analyzed in Ripple I failed

to satisfy Howey because the token recipients did not pay money “to Ripple” and the SEC failed

to show that Ripple “received the payments from these XRP distributions.” Id. at 330; see also

SEC v. Ripple Labs, Inc., 697 F. Supp. 3d 126, 134 (S.D.N.Y. 2023) (“Ripple II”) (similar).

       To be sure, “[o]ther courts have not been troubled by payments made to an exchange

instead of the issuer.” Binance, 2024 WL 3225974, at *22 (citing SEC v. Coinbase, Inc., 2024

WL 1304037, at *24 (S.D.N.Y. Mar. 27, 2024)); SEC v. Terraform Labs Pte Ltd., 684 F. Supp. 3d

170, 197 (S.D.N.Y. 2023); In re Ripple Labs, Inc. Litig., 2024 WL 3074379, *1, 7 (N.D. Cal. June

20, 2024) (“Ripple III”). But these decisions misconstrue Howey and fail to apply its test on a

transaction-by-transaction basis, as this Court held was required in the investment-contract

context. Binance, 2024 WL 3225974, at *20.

       In Coinbase, for example, the Southern District of New York assumed that resales of crypto

assets must be treated the same as their initial sales, 2024 WL 1304037, at *23, disregarding the

rule that each transaction’s circumstances must be analyzed independently, Binance, 2024 WL

3225974, at *20. Based on that threshold error, Coinbase did not examine the investment-of-

money requirement at all. 2024 WL 1304037, at *23; see also Terraform, 684 F. Supp. 3d at 197




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(similar).3 The Northern District of California’s decision in Ripple III did not independently

analyze the issue either, and instead simply cited Coinbase and Terraform. 2024 WL 3074379, at

*1, *7. And that court’s subsequent decision in SEC v. Payward, Inc., similarly conflated

investment contracts with assets that are part of investment contracts, reasoning that it would

“def[y] common sense to suggest” that resellers do “not understand themselves to be investing

money in the asset.” Mot. Am. Ex. C, ECF 273-4 at 20. But the court’s analysis failed to

acknowledge that investing money “in [an] asset,” id. (emphasis added), is not the same thing as

investing money “in a common enterprise,” Howey, 328 U.S. at 298 (emphasis added).

       This Court has correctly rejected the premise underlying these cases, which is that resales

of crypto tokens must be treated as identical to initial distributions by the tokens’ developers.

Binance, 2024 WL 3225974, at *19–20. Instead of accepting that flawed logic, the Court “agree[d]

with the approach of the court in Ripple [I],” id. at *20, because the “‘it-is-what-it-is’ approach”

is “inconsistent with the clear Supreme Court directives . . . which hold that it is the economic

reality of the particular transaction, based on the entire set of contracts, expectations, and

understandings of the parties, that controls,” id.

       Of course, resales of investment contracts are possible. For example, an initial purchaser

could reassign her rights under an investment contract to someone else. Then, the second

purchaser would take ownership of the entire relationship that constituted an investment of money

into a common enterprise in the first place. Similarly, there might be circumstances in which

resales of unique types of crypto assets could be securities transactions. For example, a developer

could create a token that functions like a share of stock, conferring ownership and voting rights on



3
 In Terraform, the defendants did “not dispute” the investment of money requirement, 684 F.
Supp. 3d at 195, so the issue was not before the court.


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its holders that carry forward to subsequent purchasers. Alternatively, a developer might work

together with an initial buyer who purchases tokens from the developer, resells them, and funnels

the money from those sales back to the developer. See Binance, 2024 WL 3225974, at *20 (citing

Telegram, 448 F. Supp. 3d at 380–81); Ripple II, 697 F. Supp. 3d at 135–36 (“secondary market

transactions” might be investment contracts if the reasonable buyer believes her money will “be

fed back into” the common enterprise). In either scenario, resales might potentially satisfy Howey

(though the full analysis necessarily would hinge on all other relevant circumstances surrounding

each sale). But nothing like these scenarios is alleged in the Amended Complaint.

       Resale purchasers did not join any common enterprise. The SEC also fails to plausibly

allege that purchasers in blind resales joined a common enterprise. The mere existence of a

common enterprise is insufficient. There must be some type of relationship such that the

purchaser’s funds go into the common enterprise in a way that goes beyond simply aligning the

economic interests of an investor and a promoter. See, e.g., Rodriguez v. Banco Cent. Corp., 990

F.2d 7, 11–12 (1st Cir. 1993).

       After all, Howey requires a “common enterprise,” not merely “common interests.” See

United Hous. Found., Inc. v. Forman, 421 U.S. 837, 854 (1975). A common interest alone is

legally insufficient for a common enterprise under Howey, and is inadequate to distinguish

situations where many customers all hold the same fungible asset in hopes it will appreciate. See,

e.g., SEC v. Belmont Reid & Co., 794 F.2d 1388, 1390 (9th Cir. 1986) (no investment contract

where “profits to the coin buyer depended upon the fluctuations of the gold market”); Noa v. Key

Futures, Inc., 638 F.2d 77, 79 (9th Cir. 1980) (per curiam) (same with silver); Moody v. Bache &

Co., 570 F.2d 523, 526 (5th Cir. 1978) (similar as to commodity futures contracts). Were it

otherwise, anyone who bought orange groves in Florida would have been in a “common




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enterprise” with the Howey Company, collectively rooting for an increase in demand for oranges.

        Instead, Howey requires an ongoing relationship pursuant to which investors are entitled to

a share of profits generated with the capital they and other investors provided to the enterprise,

which the issuer raised and pooled for that purpose. “The leading D.C. Circuit case on investment

contracts,” Life Partners, therefore explained that the presence of a common enterprise

“ordinarily” is tested with an inquiry into “horizontal commonality”—whether there was a

“pooling of investment funds, shared profits, and shared losses.” Binance, 2024 WL 3225974, at

*12 (quoting SEC v. Life Partners, Inc., 87 F.3d 536, 543 (D.C. Cir. 1996) (“Life Partners I”),

rehearing denied, Life Partners II, 102 F.3d at 588).4

        Where a purchaser simply buys an asset—even if “for investment” purposes or in the hope

it would “increase in . . . value”—the purchaser has not bought into a common enterprise as

required for an “investment contract” under Howey, even if the purchaser’s long-term economic

interests are aligned with the seller’s economic interests. Rodriguez, 990 F.2d at 10; see also id.

(“‘securities’ are interests in an enterprise”).

        Here, the SEC’s singular argument appears to be that a “common enterprise” exists (and

somehow connects to purchasers of tokens in blind resale transactions) simply because the tokens

were “fungible.” Am. Compl. ¶¶ 345–46; id. ¶ 517. To be sure, fungibility might help the SEC

satisfy the requirement that profits are realized on a pro rata basis across token owners. Binance,

2024 WL 3225974, at *16. But that does nothing to satisfy the independent requirement that “the

proceeds of the offering were ‘pooled,’” which is a “critical aspect” of the test. Id. For resale


4
 Some circuits look to “vertical commonality”—and, more specifically, either “broad” or “strict”
vertical commonality. Binance, 2024 WL 3225974, at *13 (quotations omitted). Neither is a valid
way to establish Howey’s requirement of a common enterprise, as BAM explains in its brief. To
avoid duplication, BHL and Mr. Zhao do not repeat those arguments here. Under any form of
commonality, the SEC’s claims would fail here.


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transactions, the SEC has failed to allege any facts suggesting that the tokens’ developers pooled

purchasers’ funds (nor could it, since the developers didn’t receive the funds in the first place).

Nor has the SEC alleged any other facts that could establish any kind of ongoing relationship

between purchasers who bought their token from a third party and a common enterprise.

       No reasonable expectation of profits from the efforts of the enterprise. For a transaction

to satisfy Howey, investors must join a common enterprise expecting “profits solely,” or at least

“predominantly,” “from the efforts of the promoter or a third party.” Binance, 2024 WL 3225974,

at *14 (quotations omitted). “[A]n objective buyer’s understandings” control, id. at *19 n.13,

rather than “the precise motivation of each individual participant,” id. at *14 (quotations omitted).

       The mere expectation that an asset will increase in value is insufficient. Binance, 2024 WL

3225974, at *21–22, *24. Accordingly, the SEC must “plausibly allege an ‘expectation of profits’

in the form of a return on an investment.” Id. at *22. As this Court explained in dismissing the

SEC’s claims concerning resales of BNB, to state a claim the SEC must allege facts supporting a

“plausible inference that the reasonable secondary buyer would expect [the token’s developer] to

use their investment to generate profits on the buyer’s behalf.” Id. at *21 n.15.

       In Ripple I and II, Judge Torres similarly recognized that a reasonable buyer purchasing

tokens from their developer might reasonably expect “that [the developer] would use the capital

received” to increase the value of the tokens, and therefore the buyer might have a reasonable

expectation “that they would derive profits from [the developer]’s efforts.” Ripple I, 682 F. Supp.

3d at 326. In contrast, buyers who purchase tokens in “blind bid/ask transactions,” in which they

have no reason to think they are purchasing from the tokens’ developer, “could not reasonably

expect the same,” even if (unlike in resale transactions) the developer happened to be the

counterparty. Id. at 328. No “investment contract” occurs when the buyer lacks any reasonable




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expectation that her capital is being “fed back into” efforts to increase the tokens’ value. Ripple

II, 697 F. Supp. 3d at 136.

       Moreover, what matters in the D.C. Circuit are the post-purchase efforts of the promoter

to provide returns, rather than merely pre-purchase efforts to develop an asset or scheme in the

first instance. See Binance, 2024 WL 3225974, at *14. “[P]re-purchase services cannot by

themselves suffice to make the profits of an investment arise predominantly from the efforts of

others.” Id. (quoting Life Partners II, 102 F.3d at 588). Additionally, these post-purchase efforts

must be “entrepreneurial”—requiring some form of creativity or risk-taking by the promoter of the

common enterprise—not merely “ministerial functions” that occur on autopilot. Id. (quoting Life

Partners II, 102 F.3d at 588). In Life Partners II, for example, fractional interests in viatical

settlements were not securities because the SEC could not identify “even one entrepreneurial post-

purchase service” undertaken by the promoter. 102 F.3d at 588 (statement of Ginsburg, J.).

“[T]here simply [was] no on-going common enterprise involved in owning an interest in an

insurance contract from which the profit depends entirely upon the mortality of the insured.” Id.

       Here, purchasers who bought the third-party tokens or BNB from third parties on

Binance.com or Binance.US lacked any reasonable expectation that the tokens’ developers would

feed their money into a common enterprise “to generate profits on the buyer’s behalf.” Binance,

2024 WL 3225974, at *21 n.15; Ripple I, 682 F. Supp. 3d at 326. Instead, the SEC’s claims

concerning resales involve transactions in which the buyers were purchasing from third parties,

not the tokens’ developers, and had no idea where their money was going. See Am. Compl. ¶ 91.

       The SEC’s allegations about purported “burn[s]” of BNB, e.g., Am. Compl. ¶¶ 293, 304,

374, or the third-party tokens, e.g., id. ¶¶ 540, 682, do nothing to salvage the agency’s claims

concerning resales. The SEC alleges that BHL executed burns by using its “profits” from running




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Binance.com and selling BNB to “repurchase and then destroy BNB,” creating a deflationary

effect that would “increase [BNB’s] price” and thus lead purchasers to expect profits. Id. ¶ 304.

But if BNB purchasers were not buying from BHL and instead from another seller entirely, they

lacked any reasonable expectation that BHL would use their capital contributions to burn BNB.

       Moreover, many of the alleged burns could not be entrepreneurial because the SEC admits

they were automatic. For example, all of the alleged burns of SOL and MATIC were automatic,

not discretionary or entrepreneurial. Am. Compl. ¶ 540 (alleging SOL burns are “built-in”); id.

¶¶ 578–79 (similar for MATIC). Burning tokens automatically based on a preset formula is a

ministerial, not entrepreneurial effort, and is therefore insufficient under Howey and Life Partners.

See Life Partners I, 87 F.3d at 547. For MANA, the SEC specifically alleges that its developer

promised to “increase the MANA supply by 8 percent in the first year, followed by a lower rate in

subsequent years,” and therefore that the token is automatically inflationary, not deflationary. Am.

Compl. ¶ 680 (emphasis added). Given that specific allegation concerning automatic increases in

supply, the SEC’s vague reference to the “MANA burn,” id. ¶ 682, is insufficient to state a

plausible claim that a reasonable buyer would expect to earn profits through deflationary burns.

                                            *    *     *

       For each of these independent reasons, the Court should dismiss the SEC’s Exchange Act

claims concerning resales of all eleven tokens. For five of the tokens—ADA, FIL, ATOM, ALGO,

and COTI—these are the SEC’s only claims, so they would be eliminated from the case entirely.

               2.      The Sales By Token Developers Were Not Investment Contracts.

                       a.      Blind Sales By Token Developers Were Not Investment
                               Contracts.

       In addition to the blind resales of SOL, SAND, and MANA (which are independent

transactions that should be dismissed for the reasons explained above), the SEC also claims that



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these tokens’ developers sold them to buyers in blind transactions, outside the context of a public

offering, on the Binance.com Platforms. Am. Compl. ¶ 468. Similarly, the SEC alleges that BHL

itself directly sold BNB on the Platforms post-ICO. Id. ¶ 338. In these transactions, even though

the developers were the counterparties, buyers “could not reasonably expect” their money would

be used to earn them profits, Ripple I, 682 F. Supp. 3d at 328, since they had no idea whether they

were purchasing tokens from their developers or other third parties. Thus, these claims fail too.

       The SEC’s new allegations concerning BHL’s alleged post-ICO sales of BNB. In its first

motion-to-dismiss decision, the Court held that the SEC’s original version of Count 1 alleged

(barely) enough to state a plausible claim concerning post-ICO sales, but that the SEC’s allegations

were “quite conclusory.” Binance, 2024 WL 3225974, at *17–18. Though the Court previously

held that these claims can move forward based on the allegations in the initial complaint’s assertion

of these claims, the SEC’s new allegations “plead [it]self out of court” by adding specific facts

making clear that these transactions were not investment contracts. Sparrow v. United Air Lines,

Inc., 216 F.3d 1111, 1116 (D.C. Cir. 2000). In particular, the Amended Complaint adds new facts

making clear that the SEC’s claims concerning post-ICO sales of BNB by BHL concern blind

transactions that BHL allegedly entered through “accounts on the Binance Platforms, including

through market makers such as Sigma Chain.” Am. Compl. ¶ 348.

       No reasonable expectation of profits from the efforts of others. For all four tokens (SOL,

SAND, MANA, and BNB), the SEC fails to plausibly allege that buyers had a reasonable

expectation that the tokens’ developers would “use their investment to generate profits on the

buyer’s behalf.” Binance, 2024 WL 3225974, at *21 n.15; supra at 18–20. As with the resale

transactions, the SEC fails to allege facts suggesting that any reasonable buyer would expect

someone to use her money to take any efforts to increase the value of her tokens.




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       No supporting factual allegations for SOL, SAND, or MANA. For SOL, SAND, and

MANA, the SEC’s claims concerning sales by the tokens’ developers fail for the additional reason

that the Amended Complaint lacks any alleged facts about the circumstances of those sales other

than that they were conducted “on at least the Binance.com Platform directly or through [the

developers’] intermediaries.” Am. Compl. ¶ 468. The SEC bears the burden to allege specific

facts sufficient to state a plausible claim. Iqbal, 556 U.S. at 678. Its vague and conclusory

allegations in paragraph 468 fail to do so here.5

                                            *       *    *

       For these reasons, the Court should dismiss the SEC’s Exchange Act claims concerning

blind sales by token developers which results in the dismissal of the SEC’s remaining Exchange

Act claims concerning BNB, SOL, and MANA, and leaves only three third-party tokens (MATIC,

AXS, and SAND) in the case.

                       b.      The So-Called “Initial Exchange Offerings” Were Not
                               Investment Contracts.

       The SEC’s remaining allegations concern public “IEOs,” where the SEC alleges that token

developers used Binance.com “to engage directly in capital-raising distributions.” Am. Compl.

¶ 464. The SEC alleges that the three remaining tokens—MATIC, AXS, and SAND—“conducted

IEOs on the Binance.com Platform.” Id. ¶ 467.6

       No reasonable expectation of profits from the efforts of others. For AXS and SAND, the

SEC specifically alleges that resales began contemporaneously with the IEOs. See Am. Compl.


5
  For SAND, the SEC does allege specific facts concerning an “IEO,” Am. Compl. ¶ 644, which
is a separate kind of transaction analyzed separately below, infra at 23.
6
  Because these claims involve Binance.com specifically, and not Binance.US, they are at issue
only for Counts 5–7, and would not provide a basis for sustaining any part of Counts 8–10 even if
the SEC could plausibly allege that the initial exchange offerings were investment contracts.




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¶¶ 646, 731.7 The SEC alleges no facts suggesting that, even during the IEOs, purchasers had any

way to know whether they were buying from the token’s developer or a third-party reseller. The

SEC thus fails to allege purchasers had any reasonable expectation that their money would be used

to earn profits when they did not even know who they were buying from. Ripple I, 682 F. Supp.

3d at 326; Binance, 2024 WL 3225974, at *21 n.15.

       For MATIC, the Amended Complaint lacks any specific allegations concerning the

“efforts” that Polygon Labs purportedly offered to undertake in exchange for buyers’ funds or

how, specifically, MATIC would allegedly use buyers’ funds to earn them profits. The SEC

alleges that MATIC “marketed that it ‘burns’ MATIC tokens accumulated as fees,” but makes

clear that the burns were made pursuant to a “protocol upgrade” announced simultaneously with

the marketing, and that the burns occurred pursuant to a “built-in mechanism,” not pursuant to

discretionary or entrepreneurial post-sale efforts. Am. Compl. ¶¶ 578–79. Those ministerial

efforts are insufficient as a matter of law. See supra at 19.

               3.      For All Of The Transactions, The SEC Fails To Plausibly Allege That
                       A Reasonable Buyer Purchased The Tokens Primarily For Investment
                       Purposes.

       The SEC’s Exchange Act claims concerning all of the transactions involving the third-

party tokens and BNB should be dismissed on the alternative ground that the SEC fails to plausibly

allege that buyers purchased the tokens primarily as an investment. Buyers purchase crypto tokens

for any number of non-investment purposes, as the Amended Complaint and the various materials



7
  The SEC’s reference to SAND’s “October 2020” IEO, Am. Compl. ¶ 646, appears to be
inadvertent; the IEO was in August 2020, as the SEC elsewhere pleads, id. ¶ 644, and as
incorporated documents confirm, see Introducing the Sandbox (SAND) Token Sale on Binance
Launchpad,              Binance.com                (Aug.             5,             2020),
https://www.binance.com/en/support/announcement/introducing-the-sandbox-sand-token-sale-
on-binance-launchpad-b8e11c5870ba4d16810839473e69a90d.


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incorporated by reference make clear. At the pleading stage, the SEC must allege more than the

“mere possibility” that buyers bought crypto tokens on Binance.com primarily for investment

purposes. Iqbal, 556 U.S. at 679. Allegations that are consistent with both lawful and unlawful

conduct “stop[] short of the line between possibility and plausibility of entitlement to relief.” Id.

at 678 (quotations omitted).

       If an objective “purchaser is motivated by a desire to use or consume the item purchased”—

even if the purchaser “expected profits” as a result—the transaction is not an investment contract.

Binance, 2024 WL 3225974, at *14 (quotations omitted). Accordingly, for the SEC to show that

a particular transaction was an “investment contract,” it must allege facts showing that the

reasonable buyer would understand herself to be purchasing an investment in a common enterprise,

not an asset she could use for other purposes. See SEC v. Edwards, 540 U.S. 389, 395–96 (2004)

(contrasting asset purchases for consumption with situations “in which the investor is ‘attracted

solely by the prospects of a return’ on the investment”) (quoting Forman, 421 U.S. at 852).

       Where a transaction arguably exhibits “intermingled security and nonsecurity aspects”—

such as both investment and consumptive purposes—the transaction will be deemed an

“investment contract” only when it has “to a very substantial degree elements of investment

contracts.” Int’l Bhd. of Teamsters v. Daniel, 439 U.S. 551, 560 (1979). In Daniel, for example,

pension plans were not investment contracts because the employees’ “compensation package” was

“substantially devoid of aspects resembling a security,” even though the package included a

“purported investment.” Id. Because the “noninvestment interests” could not “be segregated from

the possible pension benefits,” there was no securities transaction. Id. Moreover, even where

purchasers have investment motives, they must intend to rely on the promoter’s efforts for profit,

as opposed to “hoping” for an “increase in … value” for some other reason, like rapidly reselling




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tokens to make markets or exploit arbitrage. Rodriguez, 990 F.2d at 10.

       Here, the Amended Complaint relies on cherry-picked marketing statements to assert that

buyers might have hoped their tokens would increase in value. But the SEC fails to plausibly

allege that a reasonable buyer on Binance.com or Binance.US would have even been aware of

those statements, let alone that any investment motives were tied to the promoter’s efforts—as

opposed to arbitrage or naked speculation about trends in the crypto markets more broadly. See

Ripple I, 682 F. Supp. 3d at 329 (“expectation of profit” must “derive . . . from [promoter’s]

efforts,” not “other factors, such as general cryptocurrency market trends”).

       BNB. The SEC repeatedly makes clear that BNB was marketed as something that buyers

could use. For example, BHL allegedly highlighted the “utility” of the token, Am. Compl. ¶ 391,

explained that its value derived from that “utility,” id. ¶ 394, and explained that “use cases” for the

token were expanding—from 180 in late 2019, to over 200 by early 2021, id. ¶¶ 389, 393. And

BHL allegedly increased (and marketed) BNB’s utility by offering discounts when Binance.com

purchasers used BNB to buy other tokens. Id. ¶ 372. Although these efforts “to increase demand

may have the effect of enhancing BNB’s value,” “emphasizing the ways [BNB] can be used raises

questions about the strength of the showing supporting the existence of the ‘expected profits’

element over time.” Binance, 2024 WL 3225974, at *19.

       Nor does the SEC’s raft of other allegations about BHL’s purported marketing statements

bring the SEC closer to stating a plausible claim. Few of the statements explained any concrete

“effort” that BHL intended to undertake on purchasers’ behalf, distinguishing the SEC’s complaint

from Ripple III, where the plaintiff’s complaint alleged that the token’s developer promised to, for

instance, “spen[d] $100 million on a project” to “increase the price of [the token]” by even “one

penny” and touted its efforts to “realize” new industries for tokens. 2024 WL 3074379, at *9.




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Rather, here the SEC alleges paragraphs of generic platitudes about the BNB “community” and

“growth environment,” Am. Compl. ¶¶ 361, 394; the truism that price increases benefit BNB

owners, id. ¶ 361; and general puffery suggesting that BNB owners should hold the token, id.

¶¶ 366, 369, 370. None of that concerns any actual post-sale entrepreneurial “effort” that BHL

was marketing to purchasers in exchange for their money.

         Moreover, the specific materials the SEC incorporates by reference and then quotes—

selectively—to show BNB’s purported marketing for “investment purposes” reveal that the token

was marketed as having at least as many consumptive purposes. Binance, 2024 WL 3225974, at

*4 (at the pleading stage, a court may consider materials referenced in the complaint). For

instance, the SEC singles out “a specific page” of BHL’s website called “How to Buy BNB.” Am.

Compl. ¶¶ 369–70. The SEC quotes and italicizes language from that page noting that some users

“hold” the token “with the expectation of it increasing in value.” Id. Yet the same page encouraged

purchasers not to view BNB as an ordinary investment (like a stock), but as a medium of exchange

akin to fiat currency, explaining that BNB “does not . . . provide users with a share of Binance’s

profits, represent an investment in Binance, or provide any compensation.”8 Rather, it is a “utility

token” that buyers can “[u]se . . . to pay for goods and services,” “[s]end money to friends and

family,” or “trade” for other tokens. Id. BHL explained that “[a]n increasing number of small

merchants and large businesses are now accepting BNB payments.” Id. The statements allegedly

made by Mr. Zhao in discussing BNB are similar. The SEC focuses on his comment that BHL

was “incentivized to increase [BNB’s] value,” Am. Compl. ¶ 356, but ignores that Mr. Zhao went

on to explain that he hoped BNB’s value would rise through “increased utility,” meaning to have



8
    How to Buy BNB, Binance.com (Feb. 28, 2022), https://tinyurl.com/2v2f3prr.




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“BNB used in as many places as possible” by “getting more merchants to adopt it.”9

       The SEC’s other allegations are likewise deficient. In terms of concrete efforts to increase

the value of the token that are unrelated to its real-world uses, the SEC alleges at most: (1) burns,

e.g., Am. Compl. ¶¶ 360, 391; and (2) efforts to launch a new platform (“Binance DEX”), id. ¶ 385.

The burns are insufficient because no reasonable purchaser would expect her purchase of BNB to

be used to burn the token. Supra at 20. As for Binance DEX, BHL allegedly made clear that it

would “not directly increase profitability for Binance,” Am. Compl. ¶ 385 (emphasis added). In

any event, these allegations are insufficient to overcome the more plausible inference that given

the extensive promotion of BNB as a token with real-world uses, including for discounts on

Binance.com itself, reasonable purchasers buying BNB on the website would have understood that

BNB was marketed for purposes other than as an investment in a common enterprise.

       The Game Tokens (SAND, MANA, and AXS). Although the SEC has derided the

observation that its overbroad legal theories could extend SEC authority over the regulation of

Beanie Babies, the agency overtly claims the power to regulate online gaming: Three of the third-

party tokens—SAND, MANA, and AMX—are tokens used in online games or similar virtual

platforms. The Amended Complaint illustrates the consumptive purposes of each token within its

virtual environment. Am. Compl. ¶¶ 642 (“SAND is required to access The Sandbox platform,

participate in the platform’s governance, and earn rewards through the staking program on the

platform.”), 664 (“MANA serves as the crypto asset involved in all transactions in the

Decentraland virtual reality ecosystem. This includes the purchase of a digital asset called


9
    Binance, Binance AMA with CZ: Highlights 14:24-14:49 (July 12, 2019),
https://tinyurl.com/44zeb6pd (emphasis added); see also Boxmining, Binance – Interview with
CEO Changpeng Zhao 20:42-20:58 (Sept. 2, 2017), https://tinyurl.com/y4rb79zh (explaining that
BNB’s “long-term value” would derive from its use as “the medium for paying fees” on
blockchains).


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‘land[.]’”), 725 (players “can use AXS to make in-game purchases”).

          The allegations also incorporate by reference material further showing that the tokens were

marketed for consumption. For example, the Amended Complaint incorporates a press release

explaining that “SAND will be utili[z]ed to purchase LAND, which are the spaces (or Worlds), in

which players create and play.”10 The SEC selectively quotes a Medium blog stating that SAND

“can accrue in value over time.” Am. Compl. ¶ 653. Yet the same blog post explains that SAND

is the “medium of exchange within The Sandbox” game, and “can be transferred an unlimited

number of times” between players for the purchase or sale of in-game assets.11

          Similarly, the SEC quotes a statement in the MANA white paper that MANA’s developer

“will help bootstrap the utility value of the network until it independently attracts users and

developers.” Am. Compl. ¶ 679. Yet the SEC omits other statements promoting the fact that

“MANA tokens will be used to purchase land, goods, and services in-world.”12 The SEC alleges

that the developer of AXS promoted its reserve holdings, Am. Compl. ¶ 735, but the same webpage

details AXS’s uses “as currency within the Axie NFT marketplace,” “to determine eligibility for

participation in certain sales/auctions,” and to engage in network governance.13

          The SEC’s claims concerning the remaining seven tokens—SOL, ADA, MATIC, FIL,

ATOM, ALGO, and COTI—fail for similar reasons. The Amended Complaint alleges that BHL

“amplif[ied]” various of the promoters’ statements, Am. Compl. ¶ 496, but merely linking to a

tweet or whitepaper does not plausibly show that purchasers even read that information, much less


10
   Am Compl. ¶ 643 (citing Press Release, Animoca Brands, ASX Release (May 23, 2019),
https://tinyurl.com/6fc84hhj).
11
    The Sandbox, The Sandbox               Tokens:     $SAND,    Medium.com      (July   25,   2019),
https://tinyurl.com/5f8849yv.
12
     Decentraland White Paper, https://tinyurl.com/584rncnk.
13
     Axie Infinity Shards (AXS), Axieinfinity.com, https://tinyurl.com/bddzhabz.


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that as a result they decided to “invest” primarily because they sought to rely on the promoter’s

efforts, as opposed to seeking gains from arbitrage or speculation, or simply using the token for

whatever real-world uses the developers intended.

          SOL. The Amended Complaint’s allegations (and incorporated materials) concerning SOL

suggest that it was marketed to be used, not as an investment into a common enterprise. See Am.

Compl. ¶ 523 (“SOL may be ‘staked’ on the Solana blockchain to earn rewards, and a certain

infinitesimal amount of SOL must be ‘burned’ to propose a transaction on the Solana

blockchain[.]”). The SEC points to a report on Binance.com that allegedly “republish[es] and

amplif[ies]” statements about SOL. Id. ¶¶ 541, 545. But the “Key Takeaways” of the report

explain that “[u]sers can pay their transaction fees and interact with smart contracts using SOL,”

among other ways to use the token.14

          ADA. The SEC alleges that ADA was marketed as an investment, citing efforts to develop

“the Cardano blockchain.” Am. Compl. ¶¶ 547–51, 555–56, 558. The SEC also cites a blog post

from BAM Trading. Id. ¶ 559. Yet that post promotes ADA as “the digital currency that makes

transactions on the [Cardano] blockchain possible,” such as “smart contracts” and “decentralized

finance tools.”15 And the “What is Cardano (ADA)?” webpage on Binance.com, Am. Compl.

¶ 560, describes ADA as “the native currency of Cardano” which “is used to perform operations

on the Cardano blockchain, much like the relationship between ether (ETH) and Ethereum.”16

          MATIC. For MATIC, too, the Amended Complaint alleges that “MATIC holders can earn

additional MATIC” by engaging in staking “on the Polygon platform,” which does not occur on


14
     What Is Solana (SOL)?, Binance.com (Sept. 1, 2024), https://tinyurl.com/44z55shf.
15
    What Is Cardano (ADA)? A Guide for Beginners, Binance.US (July 15, 2024),
https://tinyurl.com/y6jmx453.
16
     What is Cardano (ADA)?, Binance.com (Aug. 21, 2022), https://tinyurl.com/4sc9c48u.


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Binance.com and Binance.US and would be an example of a buyer using MATIC to earn profits

on a different platform after purchasing it on the exchange. Am. Compl. ¶ 565. The SEC also

alleges that a Polygon founder stated that short-term MATIC holders could invest the token and

receive staking rewards, while long-term holders may benefit from “increased demand for MATIC

over time.” Id. ¶ 581. During the same “Ask Me Anything” session, MATIC was described as a

“utility token” whose purposes include “paying for the gas fees for transactions on Polygon,”

serving as a payment method on “several external platforms,” and “secur[ing] P2P loans.”17

          FIL. The SEC alleges that statements in the Filecoin Primer, a document “made available

to investors ahead of” an alleged public offering in 2017, Am. Compl. ¶ 601, showcase FIL’s

investment potential: “the more things people and organizations spend Filecoin on, and the greater

the value and worth of the token.” Id. ¶ 602. Those statements predate the alleged blind

transactions on Binance.com by at least three years and on Binance.US by eight more months. Id.

¶ 594. Even those 2017 statements make clear that FIL was marketed as something buyers would

be able to use after the platform’s launch, and other statements in the Primer similarly explain that

FIL “is used to pay for storage, retrieval, and transactions in the network.”18 The “What is Filecoin

(FIL)” article “on Binance Academy,” Am. Compl. ¶ 616, similarly describes a “peer-to-peer

network,” and explains that “[c]lients pay FIL tokens both to store and retrieve data.”19

          ATOM. The Amended Complaint, citing the “Cosmos whitepaper,” admits that it touted

ATOM’s practical uses (1) as a “staking token” permitting holders to validate transactions, and (2)

for paying “transaction fees to mitigate spam.” Am. Compl. ¶ 621. The SEC further cites a March


17
   AMA with Polygon Cofounder and COO Sandeep Nailwal, Binance.US (Mar. 5, 2021),
https://tinyurl.com/5x2djn3m.
18
     Protocol Labs, Inc., Filecoin Primer (July 25, 2017), https://tinyurl.com/ywbtw8ak.
19
     What is Filecoin (FIL)?, Binance.com (Aug. 21, 2022), https://tinyurl.com/bdftsyuu.


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2017 blog post that “emphasized that the purchase of ATOM was a long-term investment,” but

admits that at the time of the post the “Cosmos Network [was] still in an early development stage”

and that the tokens were not yet “available for use.” Id. ¶ 625. The same post emphasized that the

token was “not designed to be . . . a store of value” and that “[i]nstead, atoms are a tool, like Bitcoin

miners are a tool.”20 ATOM is not alleged to have been available on Binance.com or Binance.US

until years after the alleged fundraising for the Cosmos network in 2017, and months after the

tokens were released for buyers to use freely. Am. Compl. ¶¶ 630–31. The Amended Complaint

also incorporates by reference “a Binance Research project report,” id. ¶ 639, which explains that

“the ATOM token is used as a work token, whereby users can stake their ATOM or delegate their

ATOM to other validators who are participating in validation.”21

         ALGO. The SEC alleges that “those utilizing the Algorand blockchain need to hold (and

potentially stake) certain amounts of ALGO,” Am. Compl. ¶ 691—i.e., that ALGO is a token that

is necessary to use a blockchain. The SEC also points to a Binance Research report, id. ¶¶ 717,

721, but the report explains that “ALGO is the currency of the Algorand Protocol and serves as

the medium of exchange and store of value”—again, marketing how the token is used.22

         COTI. The SEC alleges that COTI “is the native token of the Coti blockchain and

ecosystem.” Am. Compl. ¶ 747. The Amended Complaint describes alleged fundraising efforts

by COTI’s developers in 2019, id. ¶¶ 749–52, but alleges that COTI first became available on

Binance.com several months later, “in February 2020,” id. ¶ 770, and on Binance.US “in April


20
     Cosmos Plan (Mar. 31, 2017), https://tinyurl.com/mrxzx7yp.
21
        Cosmos      Network       (ATOM),        Binance.com               (Apr.        28,       2019),
https://www.binance.com/en/research/projects/cosmos-network.
22
          Algorand       (ALGO),          Binance.com                  (June         21,          2019),
https://www.binance.com/en/research/projects/algorand.




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2022,” id. ¶ 773. The SEC alleges that in 2022, a BAM website post marketed “the purported

benefits of the ‘COTI ecosystem.’” Id. The same post prominently explains that the COTI tokens

“are used as a medium of exchange for payments between COTI users and their respective

customers, for staking, and for paying transaction fees within the COTI ecosystem.”23

                 4.     The SEC’s Control-Person Claims Against Mr. Zhao Are Derivative
                        Of Its Exchange Act Claims, So They Should Also Be Dismissed.

         The SEC’s two control-person claims against Mr. Zhao (Counts 11 and 12) are both

predicated on its Exchange Act claims against BHL and BAM. See Am. Compl. ¶¶ 810–19.

Because each of the SEC’s Exchange Act claims against BHL (Counts 5–10) fails for the reasons

set forth above, Count 11 fails in its entirety for lack of a primary violation, and Count 12 fails to

the extent it relies on primary violations of the Exchange Act by BHL. See, e.g., Freeland v.

Iridium World Commc’ns, Ltd., 545 F. Supp. 2d 59, 81 (D.D.C. 2008) (“Establishing control

person liability requires Plaintiffs to show … an underlying violation of the securities laws by the

controlled person.”); In re Fed. Nat’l Mortg. Ass’n Sec., Derivative, & “ERISA” Litig., 503 F.

Supp. 2d 25, 43 (D.D.C. 2007) (dismissing control-person claims). If the Court finds the SEC’s

Exchange Act claims against BAM insufficient, Count 12 should be dismissed in its entirety.

         B.      The SEC Fails To Plausibly Allege That Post-ICO Sales Of BNB Constituted
                 “Investment Contracts.” (Count 1)

         The SEC’s amended claims in Count 1 allege that BHL violated the Securities Act by

offering and selling unregistered securities. As relevant here, the SEC’s amended claims allege

that, after the July 2017 ICO, BHL sold BNB on Binance.com and Binance.US through

intermediaries it controlled.24 But these too were blind transactions, Am. Compl. ¶¶ 91, 338, that


23
     Binance.US Lists COTI (COTI), Binance.US (Apr. 6, 2022), https://tinyurl.com/8z6x478r.
24
   The July 2017 ICO sales are not at issue here other than to the extent BHL and Mr. Zhao renew
(for preservation purposes) the arguments in their prior motion to dismiss. See infra at 37.


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are not investment contracts, see supra at 12–20. It makes no difference whether the seller happens

to be associated with the tokens when the buyer is oblivious to the seller’s identity. Therefore, just

as the alleged blind sales by token developers fail to state a claim under the Exchange Act, these

same sales fail to state a plausible claim under the Securities Act.

       C.      The SEC Fails To Plausibly Allege That Employee Compensation Constituted
               “Investment Contracts.” (Count 1)

       The SEC contends that BHL periodically offered BNB to BHL and BAM employees as a

form of compensation, whether “as part of a regular salary,” “a periodic bonus,” “a signing bonus,”

or as “additional incentive-based compensation.” Am. Compl. ¶ 310. These allegations fail to

state a claim for many of the same reasons that the SEC’s similar allegations failed in Ripple I—

using crypto assets to give compensation to employees as a substitute for paying them in fiat

currency is hardly the same thing as receiving an investment of money from the employees in

exchange for a share in a common enterprise pursuant to which the employees would earn profits

from the efforts of others. 682 F. Supp. 3d at 330.

       The SEC’s allegations show that BHL and its employees used BNB for consumptive

purposes. The SEC fails to allege that employees intended to invest in BNB with an expectation

of profits from the efforts of others—as opposed to viewing BNB as a cash-equivalent currency.

Indeed, the SEC’s allegations concerning employee compensation provide a paradigmatic

illustration of how BNB was exchanged for consumptive purposes, rather than primarily as an

investment. Binance, 2024 WL 3225974, at *14; supra at 24–26. An employee does not make an

investment when her primary motivation is to “obtain a livelihood.” Daniel, 439 U.S. at 560.

       Here, the Amended Complaint makes clear that BHL and its employees treated the token

as economically equivalent to fiat currency and used the token as a form of payment. For each

form of compensation allegedly paid in BNB, the SEC alleges that BNB was used interchangeably



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with cash or other currencies: “Binance permitted its employees to elect to receive their salaries

in either BNB, fiat currency, or other crypto assets.” Am. Compl. ¶ 311 (emphasis added); accord

id. ¶¶ 313, 316, 321, 325. For example, BHL anticipated that employees would liquidate their

BNB to pay increased cost-of-living expenses when they relocated to more expensive cities. Id.

¶ 324. BHL placed no restriction on employees’ ability “to spend” the BNB “as they desired.” Id.

¶ 326; cf. Telegram, 448 F. Supp. 3d at 373 (“[T]he existence of the lockups tend to negate the

likelihood that a reasonable Round One Purchaser purchased Grams for consumptive use.”). And

no wonder—if “[m]any” employees took “100%” of their compensation in BNB, Am. Compl.

¶ 335, then they would need to use the BNB to pay for food, housing, and clothing.

       The SEC’s allegations about BHL encouraging employees to “hold” BNB do not push its

employee-compensation claim over the plausibility threshold. E.g., Am. Compl. ¶¶ 331–36.

These general statements are not linked to any of the transactions the SEC alleges as the basis of

Count 1, and thus they do not permit the inference that those specific transactions were investment

contracts, even if some employees decided to hold BNB with an expectation of long-term profits.

Id. ¶¶ 309–28. In any event, the puffery alleged in the Amended Complaint cannot overcome the

SEC’s specific, concrete allegations that, as explained above, make clear that BHL and its

employees treated the tokens as a form of payment and a 1:1 substitute for fiat currency. Id. ¶ 326.

       No investment of money by any of the employees. To plead an investment of money, the

SEC must allege that employees receiving BNB as compensation voluntarily “gave up some

tangible and definable consideration in return for an interest that had substantially the

characteristics of a security.” Daniel, 439 U.S. at 560. “Looking at the economic realities, it seems

clear that an employee is selling his labor primarily to obtain a livelihood, not making an

investment.” Id. Simply providing labor to a company does not constitute an “investment of




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money” into that company, since the provision of services in exchange for compensation does not,

by itself, give the company additional capital to develop. See, e.g., Phillips v. Kaplus, 764 F.2d

807, 816 (11th Cir. 1985) (no “investment of money” where interest was given “as compensation

for services rendered”); Peyton v. Morrow Elecs., Inc., 587 F.2d 413, 414 (9th Cir. 1978) (similar).

“[A]n investment of labor will not be sufficient unless the employee can prove that the work

performed was more valuable than the direct compensation received,” since underpaying

employees frees up capital that otherwise would have been spent on wages. 1 Steven C. Alberty,

Advising Small Businesses § 16:15 (2024) (emphasis added).

       Moreover, an employee’s decision to accept an employment benefit instead of forgoing it

entirely is not an investment of money. Foltz v. U.S. News & World Rep., Inc., 627 F. Supp. 1143,

1158 (D.D.C. 1986). The SEC itself has maintained that employee benefits create “investment

contracts” only in limited circumstances. See SEC, Employee Benefit Plans; Interpretations of

Statute, 45 Fed. Reg. 8,960 (Feb. 11, 1980). First, employees must voluntarily choose to receive

a benefit. Id. at 8,964/1–2 & n.42. Second, employees must contribute to the employer in some

way beyond mere labor, such as by voluntarily accepting a reduced salary. Id. at 8,964/3–8,965/1.

       The SEC’s own case—Uselton v. Commercial Lovelace Motor Freight, Inc.—illustrates

the point. 940 F.2d 564 (10th Cir. 1991). There, the Tenth Circuit held that employees’ decision

to opt into employee stock options constituted an investment contract, but only because the

employees “did more than merely contribute labor.” Id. at 577. Specifically, pursuant to a “Wage

Reduction Program,” the employees voluntarily agreed to accept 17.35% less in wages as

consideration to join a stock-option program. Id. at 570. The reduction in employees’ wages

contributed capital to the company, since the company saved capital that it otherwise would have




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needed to pay as compensation for labor.

       The Amended Complaint alleges nothing like this. For each of the various forms of

compensation, the SEC does not assert that BHL or BAM employees made a voluntary decision

to accept a lower overall salary (as measured in fiat currency plus its equivalent in BNB) in return

for the opportunity to make a long-term investment in the company—only that they “gave up the

legal right to receive that portion of [their] salar[ies] in fiat currency” at the time of payment, at

which point they were free to spend the BNB or exchange it for other digital assets or currencies.

Am. Compl. ¶ 311. Thus, it was not an investment of money under Howey.

       For several forms of alleged compensation (periodic bonuses, the “ETOP” plan, and

relocation allowances), the Amended Complaint also fails to allege that employees voluntarily

exchanged specific consideration for BNB, as opposed to receiving BNB as a unilateral benefit

conferred by BHL. See, e.g., Foltz, 627 F. Supp. at 1158; Fraser v. Fiduciary Tr. Co. Int’l, 2005

WL 6328596, at *5 (S.D.N.Y. June 23, 2005) (no investment contract because plaintiff did not

allege that he specifically bargained for stock or acquired it through a voluntary investment

decision). The periodic bonuses, for example, were “determined” unilaterally by BHL based on

performance reviews. Am. Compl. ¶ 316. Employees who received these discretionary bonuses

by virtue of their job performance did not make a voluntary investment decision. The SEC

similarly alleges that the “ETOP” payments were “granted” “to high performing employees.” Id.

¶ 320. The SEC does not allege that any employee receiving ETOP payments voluntarily

exchanged specific consideration for them, id. ¶¶ 320–23, or facts suggesting that ETOP payments

were anything more than “incident[al]” components of a broader compensation package, Foltz,

627 F. Supp. at 1158. Similarly, the alleged relocation allowances were a unilateral benefit offered

by BHL, which were, at most, incidental to an employee’s overall compensation. Daniel, 439 U.S.




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at 560. Employees who simply relocated for work did not invest money into a common enterprise.

Am. Compl. ¶¶ 324–25; cf. Mart v. Forest River, Inc., 854 F. Supp. 2d 577, 586 (N.D. Ind. 2012)

(“moving locations to take another job” was not “independent consideration”).

       D.       All The Claims Concerning Token Sales On Binance.com Or Binance.US Fail
                To Plead Post-Sale Obligations. (All Claims Except Count 1 Concerning the
                BNB ICO And Count 3)

       For the reasons explained above, the SEC’s amended claims are irreconcilable with this

Court’s first motion-to-dismiss decision or a proper understanding of Howey. The Court should

also dismiss the SEC’s claims on the alternative ground that the SEC fails to allege that secondary-

market crypto transactions involved contractual, post-sale obligations, for the reasons BHL and

Mr. Zhao have previously explained. See, e.g., ECF 118 at 15–19. In the Court’s prior decision,

the Court reasoned that the Supreme Court’s decision in SEC v. C.M. Joiner Leasing Corp., 320

U.S. 344, 349 (1943), “pointedly declined to determine whether the seller’s representations gave

rise to an enforceable contract.” Binance, 2024 WL 3225974, at *8. But whether a contract is

enforceable under state law is not the issue; what matters is whether the promoter represented that

it would assume obligations—which the promoter indisputably did in Joiner. Under controlling

precedent, post-sale obligations are a necessary component of any investment contract. Life

Partners II, 102 F.3d at 588 (statement of Ginsburg, J.).

       Further, and for purposes of issue preservation, Defendants respectfully renew their

arguments that the Court should dismiss the SEC’s claims: (1) under the major-questions doctrine;

(2) for lack of fair notice; and (3) because certain of the SEC’s claims are barred by the statute of

limitations or the presumption against extraterritoriality. See ECF 118. Defendants also renew

their argument that the Court should dismiss the SEC’s claim concerning BNB Vault on the ground

that the SEC fails to plausibly allege that BNB Vault was offered or sold as an investment contract.

Id. at 28–30.


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       E.      Simple Earn Was Not Offered Or Sold As An Investment Contract. (Count 3)

       The remaining amended claim concerns Simple Earn. The SEC’s new allegations fail to

cure the deficiencies the Court identified in the SEC’s first complaint.

       The SEC still fails to plausibly allege that Simple Earn participants have a reasonable

expectation that BHL will “generate the return or make the[ir] assets more valuable.” Binance,

2024 WL 3225974, at *26. Although BHL allegedly tells participants about a wide range of

activities that it will undertake, see Am. Compl. ¶¶ 427, 435, the alleged profits to participants

come from “[d]aily rewards [that] are distributed from Binance’s own funds,” Introduction to

Binance Simple Earn (Sept. 22, 2022), https://www.binance.com/en/support/faq/introduction-to-

binance-simple-earn-8df6abf5930e4ef4977d84f45d99d491 (incorporated at Am. Compl. ¶ 436).

The Amended Complaint includes a conclusory allegation that Binance promised to “deploy

[customers’] assets to generate these profits,” Am Compl. ¶ 425, but is still devoid of any

allegation “that the interest rate was dependent on that enterprise’s success.” Binance, 2024 WL

3225974, at *26. Indeed, the SEC alleges that the Simple Earn reward APR is calculated by

accounting for “the crypto asset invested . . . [and] the duration of the investment” as well as

assessing “market conditions” to “make sure that the APRs are both competitive in the market and

also reasonable.” Am. Compl. ¶¶ 428, 431. Nowhere does it allege that the APR for Simple Earn

is linked to Binance’s profitability. Thus, it remains the case that, even if Simple Earn participants

expected “that they would be paid,” no participant would expect that those payments are the result

of BHL’s managerial or entrepreneurial efforts. Binance, 2024 WL 3225974, at *26.

       Moreover, the SEC still fails to allege an “investment of money” involving a transfer of

ownership and the risk of loss to the alleged investor. See Daniel, 439 U.S. at 559 (requiring a

showing that a person “chose to give up a specific consideration”); Rubera, 350 F.3d at 1090

(investor must “subject himself to financial loss” (quotations omitted)). Simple Earn participants


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can “withdraw their subscribed assets from the program at any time,” even if those assets are part

of a “locked” offering. Am. Compl. ¶ 428. Simple Earn therefore involves a loan of tokens, not

a transfer of their ownership. And because BHL affirms that it will return Simple Earn tokens “in

full, in the same quantity and type of Digital Asset with which [the participant] Subscribed,”

Binance Simple Earn Terms (May 29, 2024), https://www.binance.com/en/terms-simple-earn

(incorporated at Am. Compl. ¶ 436), there is essentially no risk of loss. The Amended Complaint

cites “various risks” that in extreme and “exceptional circumstances . . . could negatively impact

the ability of Binance to return [a customer’s] Simple Earn Assets in full or at all.” Am. Compl.

¶ 436. But even that statement makes clear that Simple Earn participants are still “virtually

guaranteed” to receive their tokens back “in full.” Marine Bank, 455 U.S. at 558.

         Indeed, Simple Earn operates like a bank account. Participants deposit their tokens with

BHL, and BHL guarantees redemption in full with guaranteed interest. A participant’s Simple

Earn interest rate may fluctuate over time just like a variable interest rate at a bank could, which

still would not—and does not—transform that transaction nor the token into a security. To label

such services a security would radically expand the phrase “investment contract” to encompass

any arrangement where a person lends an asset to another in exchange for interest. The Supreme

Court and this Court have rejected such an aggressive interpretation. See Marine Bank, 455 U.S.

at 558–59 (overly broad constructions of the securities laws are disfavored); see also Binance,

2024 WL 3225974, at *26 (“Not every ‘profit-making opportunity’ is an investment contract[.]”).

II.      The Court Should Dismiss All Claims Related To Third-Party Tokens For Failure To
         Join Required Third Parties. (Counts 5–10)

         All of the SEC’s claims concerning third-party tokens should be dismissed because the

SEC failed to join indispensable parties—namely, the parties allegedly involved in the issuance of

those tokens. See Fed. R. Civ. P. 12(b)(7). The Court “may consider both exhibits to pleadings



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and materials outside the pleadings in resolving a motion to dismiss under Rule 12(b)(7).” 16th &

K Hotel, LP v. Commonwealth Land Title Ins. Co., 276 F.R.D. 8, 12–13 (D.D.C. 2011). Under

Rule 19, the Court determines: (1) if an absent party is required, then, if so, (2) if joinder is feasible,

and then, if not, (3) if the plaintiff’s claims should proceed without the absent party. Kickapoo

Tribe of Indians v. Babbitt, 43 F.3d 1491, 1494 (D.C. Cir. 1995). “The rule calls for a pragmatic

decision based on practical considerations in the context of particular litigation.” Id. at 1495.25

        A.      The Third Parties Are Required Under Rule 19(a).

        As relevant here, an absent party is required if: (1) the party has an “interest relating to the

subject of the action” and (2) resolving the plaintiff’s claims without the absent party may, as a

practical matter, “impair or impede the person’s ability to protect the interest.” Fed. R. Civ. P.

19(a)(1)(B); 7 Wright & Miller, Fed. Prac. & Proc. Civ. § 1604 (3d ed.).

        Third parties involved in the issuance of the third-party tokens have an undeniable interest

in the SEC’s claims concerning those tokens: a decision in the SEC’s favor would adjudicate

whether at least some transactions involving their tokens were investment contracts, likely

including some transactions in which they were counterparties.                 The SEC’s claims also

“necessarily require that [the Court] evaluate” the “conduct” of those third parties, since they are

“active participant[s]” in the SEC’s claims. Laker Airways, Inc. v. British Airways, PLC, 182 F.3d

843, 848 (11th Cir. 1999) (quotations omitted). The SEC may later use a ruling in its favor to

support enforcement actions impacting the interests of these absent third parties.

        Further, holding that transactions involving the third-party tokens are securities would



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   Where the absent party is required for some, but not all of a plaintiff’s claims, the Court can
dismiss those claims only. Fed. R. Civ. P. 12(b)(7) (failure to join a party is a “defense to a claim
for relief”); Detroit Int’l Bridge Co. v. Gov’t of Canada, 192 F. Supp. 3d 54, 68 (D.D.C. 2016)
(Michigan was “a necessary party to the resolution of Count 7”).


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“necessarily impact the operations” of third parties “as a practical matter.” Lewis v. Gov’t of

District of Columbia, 324 F.R.D. 296, 298, 303 (D.D.C. 2018) (quotations omitted). For example,

the SEC alleges that nine of those tokens are used as the “native token[s]” on related crypto

platforms with which the absent third parties are associated, e.g., Am. Compl. ¶ 522, and that the

tenth token, MANA, “serves as the crypto asset involved in all transactions in the Decentraland

virtual reality ecosystem,” id. ¶ 664. See supra at 27–32 (discussing the SEC’s allegations and

incorporated documents explaining how each of the tokens is used on a third-party platform).

       Proceeding without parties involved in issuing the third-party tokens would be prejudicial

to their interests because Defendants cannot “adequately represent[] [them]” “in [their] absence.”

Ramah Navajo Sch. Bd., Inc. v. Babbitt, 87 F.3d 1338, 1351 (D.C. Cir. 1996). Hundreds of tokens

trade on Binance.com and Binance.US, Am. Compl. ¶ 514, and thus, compared to the missing third

parties, Defendants have far less incentive “to vigorously litigate the case to the bitter end” over

any individual token, Ali v. Carnegie Inst. of Wash., 306 F.R.D. 20, 28 (D.D.C. 2014). For

example, Defendants could “be incentivized to settle the case” in a way that protects their own

interests, but not the interests of some or any of the individual third parties associated with the

tokens at issue in the Amended Complaint. Id. And of course, the third parties associated with

these tokens know their businesses better than Defendants do, and are better equipped to sift

through their own records to identify evidence that undermines the SEC’s allegations.

       B.      Joinder Is Not Feasible.

       To avoid potential dismissal, the SEC bears the burden to show that the absent third parties

can be joined. See 7 Fed. Prac. & Proc. Civ. § 1609 (“[W]hen an initial appraisal of the facts

reveals the possibility that an unjoined party whose joinder is required under Rule 19 exists, the

burden devolves on the party whose interests are adverse to the unjoined party to negate this

conclusion and a failure to meet that burden will result in the joinder of the party or dismissal of


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the action.”); Thorpe v. Borough of Thorpe, 2011 WL 13134010, at *13-14 (M.D. Pa. Feb. 4,

2011), rev’d in part on other grounds 770 F.3d 255 (3d Cir. 2014). Either way, the Amended

Complaint and publicly available information make clear that joinder is not feasible.

        Among other reasons, joinder is not feasible when the absent third party is not “subject to

service of process.” Fed. R. Civ. P. 19(a)(1); Delgado-Caraballo v. Hosp. Pavia Hato Rey, Inc.,

889 F.3d 30, 36 (1st Cir. 2018) (absentees who are “beyond the personal jurisdiction of the court”

cannot be feasibly joined); Harran Transp. Co. v. Nat’l Trailways Bus Sys., 1985 WL 2349, at *5

n.18 (D.D.C. Aug. 5, 1983) (similar). Here, seven of the third-party tokens—SOL, ADA, MATIC,

ATOM, SAND, ALGO, and COTI—are specifically alleged to have been created and distributed

by parties who are based outside the District of Columbia, with some based abroad. See Am.

Compl. ¶¶ 522, 548–49, 562, 620, 641, 701, 747. Publicly available information shows that parties

associated with the three remaining tokens—FIL, MANA, AXS—are also based outside of the

District of Columbia.26 Thus, none is subject to service of process in this Court. See Cerebral

Palsy Ass’n of Nassau Cnty., Inc. v. Cochran, 2021 WL 1037865, at *5 n.3 (D.D.C. Feb. 10, 2021);

In re Toyota Motor Corp., 785 F. Supp. 2d 883, 907 (C.D. Cal. 2011).

        C.     The Proper Remedy Is Dismissal.

        Next, the Court must determine “whether, in equity and good conscience,” the claims

“should proceed among the existing parties or should be dismissed.” Fed. R. Civ. P. 19(b). Rule

19(b) lists four non-exclusive factors to guide that inquiry: (1) prejudice to the absent party or


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   See IOHK | Contact, Input | Output (Oct. 10, 2024), https://tinyurl.com/yryjt7kp (entity
associated with ADA based in Singapore); Protocol Labs Company Profile, LinkedIn (Oct. 10,
2024), https://tinyurl.com/ya7x8hpe (entity associated with FIL located in San Francisco); Terms
and Conditions, Decentraland (Oct. 10, 2024), https://tinyurl.com/h8sb72xe (entity associated
with MANA is a “Cayman Islands registered” company “with registered address in Cayman
Islands”); Sky Mavis Overview, PitchBook (Oct. 10, 2024), https://tinyurl.com/bdfbux22 (entity
associated with AXS based in Singapore).


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existing parties if the claims proceed; (2) the extent to which that prejudice could be lessened or

avoided; (3) the adequacy of a judgment without the absent party; and (4) whether the plaintiff

would have an adequate remedy if the claims are dismissed. Id. The Court has “substantial

discretion” in weighing these factors. Cloverleaf Standardbred Owners Ass’n, Inc. v. Nat’l Bank

of Wash., 699 F.2d 1274, 1277 (D.C. Cir. 1983). Here, each favors dismissal.

       Prejudice. The first and most important two factors concern prejudice to the parties

(including the absent party) in proceeding with the claims and the possibility that the prejudice

could be “lessened or avoided.” Fed. R. Civ. P. 19(b)(1)–(2); Kickapoo, 43 F.3d at 1498; Adams

v. Bell, 711 F.2d 161, 171 n.42 (D.C. Cir. 1983) (en banc); Detroit Int’l, 192 F. Supp. 3d at 70. As

explained above, those parties involved in issuing the third-party tokens are “crucially linked” to

the SEC’s allegations. Ali, 306 F.R.D. at 30. And there is no way to tailor the SEC’s relief to

avoid that prejudice without dismissing the third-party claims. The SEC claims that the third-party

tokens are “relevant both to the scope of the violation and the remedy at issue.” Binance, 2024

WL 3225974, at *28 (quoting Mot. Hr’g Tr. 105). Granting the SEC any remedy with respect to

the third-party tokens would “require a conclusion” that they were sold as unregistered securities.

Detroit Int’l, 192 F. Supp. 3d at 69.

       Adequacy Of Judgment And Remedy. The third and fourth Rule 19(b) factors ask

“whether a judgment rendered in the person’s absence would be adequate” and whether the SEC

“would have an adequate remedy” if the SEC’s claims are dismissed for nonjoinder. Fed. R. Civ.

P. 19(b)(3)–(4). Whether a judgment is “adequate” under Rule 19(b)(3) refers to “the public stake

in settling disputes by wholes, whenever possible.” Republic of Philippines v. Pimentel, 553 U.S.

851, 870 (2008) (quotations omitted). In contrast, Rule 19(b)(4) concerns the adequacy of the

plaintiff’s remedy if its claims are dismissed. Here, a judgment without the missing third parties




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would be more than adequate because this litigation can still resolve the SEC’s core claims against

Defendants without the third-party tokens. The SEC can still seek every category of relief it seeks,

none of which is unique to the third-party tokens. Am. Compl. at 193–95 (Prayer for Relief).

       For these reasons, the Court should dismiss the SEC’s claims concerning the third-party

tokens for failure to join indispensable parties.

III.   The Court Should Strike The SEC’s Requests For Disgorgement From BHL And Mr.
       Zhao And Injunctive Relief Against Mr. Zhao.

       The Court should also strike the SEC’s requests: (1) for disgorgement; and (2) to enjoin

Mr. Zhao from future participation in the securities markets.

       Disgorgement. Disgorgement is inappropriate for two reasons. First, disgorgement is an

equitable remedy “restricted” to whatever net profits can be “awarded for victims.” Liu v. SEC,

591 U.S. 71, 79 (2020). Disgorgement therefore “requires” that any “relief be ‘awarded for

victims.’” SEC v. Govil, 86 F.4th 89, 106 (2d Cir. 2023). Here, there are no alleged victims, since

the SEC fails to allege that any investor suffered “pecuniary harm” from BHL’s registration

failures. Id. at 98. In the Ripple litigation, Judge Torres recognized as much and held that

disgorgement was unavailable because the SEC lacked any evidence that Ripple’s failure to

register sales of the XRP token caused harm to customers. See SEC v. Ripple Labs, Inc., 2024 WL

3730403, at *6 (S.D.N.Y. Aug. 7, 2024); see also CFTC v. S. Tr. Metals, Inc., 894 F.3d 1313, 1330

(11th Cir. 2018) (registration violations are unlikely to cause harm, since “any loss will result from

some other factor”); Alvarez v. United States, 862 F.3d 1297, 1302 (11th Cir. 2017) (lack of

registration “had no effect” on investors).

       Accordingly, the Court should strike the SEC’s request for disgorgement from BHL and

Mr. Zhao. See SEC v. City of Victorville, 2014 WL 12588688, at *12 (C.D. Cal. Oct. 14, 2014);

SEC v. Berry, 2008 WL 4065865, at *10 (N.D. Cal. Aug. 27, 2008). Dismissing these meritless



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requests now will further streamline the case, including by avoiding burdensome and irrelevant

discovery into Defendants’ finances.

       Injunctive Relief.     The Court should strike the request to enjoin Mr. Zhao from

participating in the issuance, purchase, offer, or sale of any unregistered security, or from acting

as an unregistered exchange, broker, dealer, or clearing agency “through any entity owned or

controlled by BAM Trading [or] Binance.” Am. Compl., Prayer for Relief ¶ V. As the SEC admits,

Mr. Zhao is no longer BAM Trading’s Chairman or BHL’s CEO, id. ¶ 30, and thus he lacks control

over BAM and BHL and cannot direct them to do anything. The SEC does not allege that Mr.

Zhao will resume his roles at BAM or BHL in the future. In fact, BHL’s plea agreement, which

the SEC filed in this case, ECF 188-1, prohibits Mr. Zhao “from any . . . involvement in operating

or managing [BHL’s] business,” id. at 9. Accordingly, the Court should dismiss this portion of the

SEC’s request for injunctive relief against Mr. Zhao as moot. See, e.g., Whitney v. Obama, 845 F.

Supp. 2d 136, 139 (D.D.C. 2012) (claims for injunctive relief moot when alleged conduct ceased).

                                            Conclusion

       The SEC has now submitted two prolix complaints, requiring Defendants to expend great

resources in responding and the Court to expend countless hours parsing the allegations and the

parties’ briefing. Yet even after 89 pages of guidance from the Court and over a hundred new

allegations (not to mention 16 months of expedited discovery), the SEC’s amended claims still fail

as a matter of law. The problem is with the SEC’s legal theories, not the facts at its disposal.

       For these reasons, the SEC’s claims against BHL and Mr. Zhao should be dismissed with

prejudice and without leave to amend. The SEC’s control-person claims against Mr. Zhao

(Counts 11 and 12) should be dismissed in their entirety.




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Dated: November 4, 2024                  Respectfully submitted,



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